Case 2:15-cv-05346-CJC-E Document 438-55 Filed 10/09/20 Page 1 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29087




                   Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



        U.S.D.C., Central District of California, Case No.:




                                                               Evidence Packet P.0811
Case 2:15-cv-05346-CJC-E Document 438-55 Filed 10/09/20 Page 2 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29088




                                                       Evidence Packet P.0812
Case 2:15-cv-05346-CJC-E Document 438-55 Filed 10/09/20 Page 3 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29089




                                                       Evidence Packet P.0813
